
705 S.E.2d 754 (2011)
STATE of North Carolina
v.
Lance Adam GOLDMAN.
No. 148P10-2.
Supreme Court of North Carolina.
February 3, 2011.
Lance Adam Goldman, for Goldman, Lance Adam.
Kathleen N. Bolton, Assistant Attorney General, for State of N.C.

ORDER
Upon consideration of the petition filed by Defendant on the 24th of November 2010 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 3rd of February 2011."
